Case 2:20-cv-11181-CAS-JPR Document 66-7 Filed 11/01/21 Page 1 of 13 Page ID
                                 #:1260




                          Exhibit A
   Case 2:20-cv-11181-CAS-JPR Document 66-7 Filed 11/01/21 Page 2 of 13 Page ID
                                    #:1261



Document title:                  春季套装潮牌棉套头衫蓝色欧美夏季女印花裤套装童装

Capture URL:                     https://detail.1688.com/offer/639072915911.html?
                                 spm=a26352.b28411319.offerlist.6.73ed1e62XM89Wc

Page loaded at (UTC):            Thu, 21 Oct 2021 17:15:42 GMT

Capture timestamp (UTC):         Thu, 21 Oct 2021 17:17:07 GMT

Capture tool:                    v7.12.2

Collection server IP:            34.230.137.168

Browser engine:                  Chrome/77.0.3865.120

Operating system:                Microsoft Windows NT 10.0.17763.0 (10.0.17763.0)

PDF length:                      12

Capture ID:                      405c9096-3307-41d2-9f56-8d75ea662c4b

User:                            rimon-rob




                        PDF REFERENCE #:           2rPQsh4X3az3Ui5kztC6vD
                Case 2:20-cv-11181-CAS-JPR Document 66-7 Filed 11/01/21 Page 3 of 13 Page ID
                                                 #:1262




Document title: 春季套装潮牌棉套头衫蓝色欧美夏季女印花裤套装童装
Capture URL: https://detail.1688.com/offer/639072915911.html?spm=a26352.b28411319.offerlist.6.73ed1e62XM89Wc
Capture timestamp (UTC): Thu, 21 Oct 2021 17:17:07 GMT                                                         Page 1 of 11
                Case 2:20-cv-11181-CAS-JPR Document 66-7 Filed 11/01/21 Page 4 of 13 Page ID
                                                 #:1263




Document title: 春季套装潮牌棉套头衫蓝色欧美夏季女印花裤套装童装
Capture URL: https://detail.1688.com/offer/639072915911.html?spm=a26352.b28411319.offerlist.6.73ed1e62XM89Wc
Capture timestamp (UTC): Thu, 21 Oct 2021 17:17:07 GMT                                                         Page 2 of 11
                Case 2:20-cv-11181-CAS-JPR Document 66-7 Filed 11/01/21 Page 5 of 13 Page ID
                                                 #:1264




Document title: 春季套装潮牌棉套头衫蓝色欧美夏季女印花裤套装童装
Capture URL: https://detail.1688.com/offer/639072915911.html?spm=a26352.b28411319.offerlist.6.73ed1e62XM89Wc
Capture timestamp (UTC): Thu, 21 Oct 2021 17:17:07 GMT                                                         Page 3 of 11
                Case 2:20-cv-11181-CAS-JPR Document 66-7 Filed 11/01/21 Page 6 of 13 Page ID
                                                 #:1265




Document title: 春季套装潮牌棉套头衫蓝色欧美夏季女印花裤套装童装
Capture URL: https://detail.1688.com/offer/639072915911.html?spm=a26352.b28411319.offerlist.6.73ed1e62XM89Wc
Capture timestamp (UTC): Thu, 21 Oct 2021 17:17:07 GMT                                                         Page 4 of 11
                Case 2:20-cv-11181-CAS-JPR Document 66-7 Filed 11/01/21 Page 7 of 13 Page ID
                                                 #:1266




Document title: 春季套装潮牌棉套头衫蓝色欧美夏季女印花裤套装童装
Capture URL: https://detail.1688.com/offer/639072915911.html?spm=a26352.b28411319.offerlist.6.73ed1e62XM89Wc
Capture timestamp (UTC): Thu, 21 Oct 2021 17:17:07 GMT                                                         Page 5 of 11
                Case 2:20-cv-11181-CAS-JPR Document 66-7 Filed 11/01/21 Page 8 of 13 Page ID
                                                 #:1267




Document title: 春季套装潮牌棉套头衫蓝色欧美夏季女印花裤套装童装
Capture URL: https://detail.1688.com/offer/639072915911.html?spm=a26352.b28411319.offerlist.6.73ed1e62XM89Wc
Capture timestamp (UTC): Thu, 21 Oct 2021 17:17:07 GMT                                                         Page 6 of 11
                Case 2:20-cv-11181-CAS-JPR Document 66-7 Filed 11/01/21 Page 9 of 13 Page ID
                                                 #:1268




Document title: 春季套装潮牌棉套头衫蓝色欧美夏季女印花裤套装童装
Capture URL: https://detail.1688.com/offer/639072915911.html?spm=a26352.b28411319.offerlist.6.73ed1e62XM89Wc
Capture timestamp (UTC): Thu, 21 Oct 2021 17:17:07 GMT                                                         Page 7 of 11
                Case 2:20-cv-11181-CAS-JPR Document 66-7 Filed 11/01/21 Page 10 of 13 Page ID
                                                 #:1269




Document title: 春季套装潮牌棉套头衫蓝色欧美夏季女印花裤套装童装
Capture URL: https://detail.1688.com/offer/639072915911.html?spm=a26352.b28411319.offerlist.6.73ed1e62XM89Wc
Capture timestamp (UTC): Thu, 21 Oct 2021 17:17:07 GMT                                                         Page 8 of 11
                Case 2:20-cv-11181-CAS-JPR Document 66-7 Filed 11/01/21 Page 11 of 13 Page ID
                                                 #:1270




Document title: 春季套装潮牌棉套头衫蓝色欧美夏季女印花裤套装童装
Capture URL: https://detail.1688.com/offer/639072915911.html?spm=a26352.b28411319.offerlist.6.73ed1e62XM89Wc
Capture timestamp (UTC): Thu, 21 Oct 2021 17:17:07 GMT                                                         Page 9 of 11
                Case 2:20-cv-11181-CAS-JPR Document 66-7 Filed 11/01/21 Page 12 of 13 Page ID
                                                 #:1271




Document title: 春季套装潮牌棉套头衫蓝色欧美夏季女印花裤套装童装
Capture URL: https://detail.1688.com/offer/639072915911.html?spm=a26352.b28411319.offerlist.6.73ed1e62XM89Wc
Capture timestamp (UTC): Thu, 21 Oct 2021 17:17:07 GMT                                                         Page 10 of 11
                Case 2:20-cv-11181-CAS-JPR Document 66-7 Filed 11/01/21 Page 13 of 13 Page ID
                                                 #:1272




Document title: 春季套装潮牌棉套头衫蓝色欧美夏季女印花裤套装童装
Capture URL: https://detail.1688.com/offer/639072915911.html?spm=a26352.b28411319.offerlist.6.73ed1e62XM89Wc
Capture timestamp (UTC): Thu, 21 Oct 2021 17:17:07 GMT                                                         Page 11 of 11
